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                                                                     DOC #:
UNITED STATES DISTRICT COURT                                         DATE FILED: 10/20/2020
SOUTHERN DISTRICT OF NEW YORK
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 SECURITIES AND EXCHANGE                                        :
 COMMISSION,                                                    :
                                                                :
                                              Plaintiff,        :
                                                                : 20-CV-7193 (VEC)
                            -against-                           :
                                                                :      ORDER
                                                                :
 DANIEL B. KAMENSKY,                                            :
                                                                :
                                              Defendant. :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS on October 19, 2020, the Government filed a Motion to Intervene and to

Stay Discovery until the conclusion of Defendant Kamensky’s parallel criminal case, Dkt. 16;

and

       WHEREAS Defendant, through counsel, consents to the Government’s request for a stay,

and the SEC takes no position on the matter, Dkt. 16 at 1;

       IT IS HEREBY ORDERED that the Government’s Motion to Intervene is GRANTED.

       IT IS FURTHER ORDERED that the Government’s Motion for a Stay of Discovery is

GRANTED. The parties must file a joint status report every six months updating the Court on

the status of the criminal proceedings. The next such report is due no later than Friday, April

23, 2021. Additionally, the parties must notify the Court immediately if the Defendant pleads

guilty or a verdict has been reached after trial.

       The Clerk of Court is respectfully directed to close docket entry 16.

SO ORDERED.
                                                         ________________________
Date: October 20, 2020                                      VALERIE CAPRONI
      New York, New York                                  United States District Judge
